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                                                                              United States Bankruptcy Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                           January 24, 2023
                    FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                                       §
                                             §      CASE NO: 22-90032
GWG HOLDINGS, INC., et al.,                  §
     Debtors.                                §      Jointly Administered
                                             §      CHAPTER 11

                                         ORDER

      The Court orders:

      1. The Sealing Hearing scheduled for 9:00 a.m. on January 25, 2023 is canceled.

      2. The Clerk of Court shall unseal ECF Nos. 1250, 1250-1, 1250-2, and 1250-3 on
         Wednesday, February 1, 2023 between 9:00 a.m. and 9:15 a.m. (prevailing Central
         Time).


         SIGNED 01/24/2023


                                                 ___________________________________
                                                               Marvin Isgur
                                                      United States Bankruptcy Judge




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